Case  0:18-cr-60334-WJZ
   USDC                                  Document
       FLSD2458 (Rev.œ/08)-JudgnwntinaClri
                                         min.lC.ase 25 Entered on FLSD Docket 06/26/2019 Page 1 of 6Pa
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                                U nited States D istrict C ourt
                                        Southern D istrictofFlorida
                                             FT.LAUDERDALE DTG SION

   UNITED STATES OF AM ERICA                                JUDG M ENT IN A CRIM INAL CASE
   V.                                                       Case Num ber -0:18-60334-CR-ZLO CH-1
   EDW ARD GREGO RY STEADM AN
                                                            USM Num ber:13027-104

                                                            CounselForDefendant:GreggLzrman,Esq.
                                                            CounselForn eUnitedState' s:RobertJuman,Esq.,AUSA
                                                            CourtReporter:W illiam Romanishin



   ThedefendantyleadedguiltytoCount2oftheIndictment.
   Thedefendantlsadjudicatedguiltyofthefollowingoffense:

        TITLW SECTIO N                NA TU RE O F
           NUM BER                     OFFENSE                   OFFENSE ENDED                         CO UNT
    42 j408(a)(7)(a)            Usingfraudulentlyobtnined          September,2017
                                SocialSecuritynumber

   Thedefendantissentenced asprovided in the followingpagesofthisjudgment. The sentence isimposed pttrsuantto the
   SentencingReform Actof1984.

   A1lremainingCountsaredismissedon themotionoftheUnited States.

   Itisordered thatthedefendantmustnotify theUnited Statesattorney forthisdistrictwithin 30 daysofany changeofname,
   residence,ormailingaddressuntilal1fmes,restitution,cost
                                                         .
                                                         sandspecialmssessmentsimposedbythisjudgmentarefullypaid.
   Iforderedtopayrestimtion,thedefendantmustnotifythecourtandUnitedStatesattorneyofanymaterialchangesineconomic
   circum stances.

                                                                    DateofImposition ofSentence:
                                                                    June26,2019

                                                                                *      *


                                                                    W ILLIAM j.ZLOCH
                                                                    Sr.UnitedStatesDistrictJudge

                                                                    June            ,2019




                            ALL PENDm G M OTIONS ARE HERBBY DEO D AS M OOT.
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  DEFENDANT:EDW ARD GREGORY STEADM AN
  CASE NUM BER:0:18.60334.CR.& OCH.1

                                             IM Pm SONM ENT
          Thedefendantisherebycommittedtothecustody oftheUnited StatesBureau ofPrisonstobeimprisoned foraterm
  of12 m onthsasto Count2oftheIndictm ent.Thisterm imposedshallrun consecutivelytothesentenceimposedinCmseNo.
  18-60108-CR-Bloom,United StatesDistrictCourt,Southern DistdctofR orida.

  The defendantisremanded to the custody oftheUnited StatesM arshal.

  The Courtrecomm endsthe 500 HourDrug Abuse Program .
  The Courtrecomm endsaFederalfacility in South Florida.




                                                 R ETU R N

  1haveexecutedthisjudgmentasfollows:




  Defendantdelivered on                         to

   at                                                    ,withacertifiedcopyofthisjudgment.


                                                                          UNR ED STATES StYRSHAL


                                                                 By:         '
                                                                                 Deputy U.S.M arshal
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  DEFEN DM T :ED W ARD GREGORY STEAD M AN
  CASE NUM BER:0:18-60334-CR-& OCH-1

                                                SUPERYISE D R ELEA SE

          U ponreleasefrom imprisonm ent,thedefendantshallbeonsupervisedreleaseforaterm of3years.W ithin72 hottrs
  ofrelease,thedefendantshallreportinperson to theprobation oflk ein thedistrictwherereleased.

          W hileon supervisedrelease,thedefendantshallnotcom mitanycn'm es,shallbeprohibited from possessingaflreanu
  orotherdangerousdevices,shallnotpossessacontrolled substance,shallcooperateinthecollectionofDNA,andshallcom ply
  wit.
     h thestandardconditionsofsupervisedreleaseand w1t11the specialcondiuonslisted ontheattached page.



                                 STANDARD CONDITIONS OF SUPERVISION
  1.     Thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationofficer;
  2.     n edefendantshallreporttotheprobationofficerandshallsubmitatruthf'
                                                                          ulandcompletewrittenreportwithinthefirstfifteendaysofeach
         month;
  3.     n edefendantshallanswertruthfnllya11inquiriesbytheprobationofficerandfollow the instructionsoftheprobationofticer;
  4.     n edefendantshallsupporthisorherdependentsandmeetotherfamllyresm nsibilities;
  5.     n edefendantshallworkregularlyatalawfuloccupation,unlessexcc M byieprobadonoflcerforschooling,training,orotheracceptable
         reasons'
         n edefendantshallnotifytheprobationofficeratleastten(10)dayspriortoanychangeinresidenceoremployment;
         n edefendantshallrefrainfrom theexcessiveuseofalcoholand shallnotpurchase,possess,use,distribute.oradministeranycontrolled
         substanceoranyparaphernaliarelatedtoanycontrolledsubstances,exceptasprescribed by aphysicimq
  8.     n edefendantshallnotfrequentplaceswherecontrolledsubstancesareillegally sold,used,distributed,oradministered,
                                                                                                                     '
  9.     n edefendantshallnotassociatewithanypersonsengagedincriminalactivityandshallnotassociatewithanypersonconvictedofafelony,
         unlessgrantedpennission todosobytheprobationofficer;
  10.    n edefendantshallpermitaprobation officertovisithim orheratany timeathomeorelsewhere and shallpermitconfiscation ofany
         contrabandobservedin plain view bytheprobation oftker;
         n edefendantshallnotifytheprobationofficerwithinseventptwo(72)hoursofbeingarrestedorquestionedbya1aw enforcementofticer;
         n edefendantshallnotenterintoanyagreementtoactasaninformeroraspecialagentofalaw enforcementagencywithoutthepennission
         ofthecourt;and
  13.    Asdirectedbytheprobationofficer,thedefendantshallnotifythirdpartiesofrisksiatmaybeœ casionedbyledefendant'scrilninalrecord
         orpersonalhistory orcharacteristicsand shallpermitthe probation officerto make such notitkationsand to confirm the defendant's
         compliancew ith suchnotificationrequirem ent.
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  DEFENDANT:EDW ARD GREGORY STEADM AN
  CASE NUM BER:0:18.60334.CR.& OCH.1

                                           SPECIAL CONDITIONS OF SUPERVISION

             Thedefendantshallalsocomplyw1t11thefollowingadditionalconditionsofsupervised relemse:

  Cooperation with theIRS -Thedefendantshallcooperatefully w1t11theInternalRevenueServicein determiningand paying
  any tax liabilities. Thedefendantshallprovideto theInternalRevenueService al1requested documentsandinfonnation for
  purposesofanycivilaudits,exnm inations,collections,orotherproceedings.Itisfurtherorderedthatthedefendantfileacctlrate
  incometaxreturnsand pay alltaxes,interest,and penaltiesdueand owingbyhim /herto theInternalRevenueService.


  Em ploym entSollcitation Restriction -Thedefendantshallnotbeengaged inany businessthatofferssecurities,investments,
  orbusinessopportunitiestothepublic.Thedefendantisfurtherprohibitedfrom engagingintelem arketing,directm ail,ornational
  advertisingcampaignsforbusinesspurposeswithoutthepermissionoftheCourt.

  FinancialDisclosureRequirem ent-Thedefendantshallprovidecompleteaccesstolinancialinformation,includingdisclosure
  ofallbusinessand personalfm ances,totheU .S.ProbationOflk er.

  M entalH ealthTreatm ent-Thedefendantshallpm icipateinanapprovedinpatient/outpatientm entalhealthtreatmentprogram .
  Thedefendantwillcontributeto thecostsofservicesrendered(co-payment)basedon abilitytopayoravailabilityofthirdparty
  paym ent.

  Perm issibleSearch -Thedefendantshallsubmittoasearch ofhispersonorpropertyconductedinareasonablem annerandat
  areasonabletim ebytheU.S.Probation Ofhcer.

  Self-Em ploym entRestriction -Thedefendantshallobtminpriorwrittenapprovalfrom theCourtbeforeentering intoanyself-
  em ploym ent.

  SubstanceAbuseTreatm ent-Thedefendantshallparticipateinanapprovedleatm entprogrnm fordrugand/oralcoholabuse
  andabidebyallsupplementalconditionsoftreatm ent.Participationm syincludeinpatient/outpatienttreatm ent.Thedefendant
  willcontributeto thecostsofservicesrendered (co-pam ent)basedon ability topayoravailabilityofthirdpartypayment.
  Unpaid Restitution,Fines,or SpecialAssessments:Ifthedefendanthasanytmpaid amotmtofrestitution,fines,orspecial
  assessm ents,thedefendantshallnotify theprobationoffkerofany materialchangeinthedefendant'seconomiccircumstances
  thatm ightaffectthedefendant'sabilitytopay
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  D EFEN DANT:ED W ARD GREGORY STEADM AN
  CASE NUM BER:0:18.60334.CR.ZLOCH.1

                                                CRIM INAL M ONETARY PENALTIES


          The defendantm ustpay the tot lcn'minalmonetary penaltiestm derthe schedule ofpaym entson theSchedule of
  Paym entssheet.

                TotalAssessm ent                             TotalFine                               TotalRestitution
                       $100.00                                    $                                           $


  *FindingsforthetotalmnountoflossesarerequiredunderChaptersIX A,110,1IOA,and 113A ofTitle18,UnitedState,sCode,foroffense.
                                                                                                                         scommittedon
  orafterSeptember13,1994,butbeforeApril23,1996.
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  DEFENDANT:EDW ARD GREGORY STEADM AN
  CASE NUM BER:0:18.60334.CR.& OCH.1

                                                     SC H EDU LE O F PA Y M EN TS

  Having assessed thedefendant'sabilitytopay,paym entofthetotalcrim inalm onetarypenaltiesaredueasfollows:

             A.Lump sum paymentof$100.00dueimmediately.

  Unlessthecourthasexpresslyorderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcrinzinalmonetarypenalties
  isdueduringimprisonment.Allcriminalmonetarypenalties,exceptthosepam entsmadethroughtheFederalBureauofPrisons'
  Inm ateFinancialResponsibilityProgram ,aremadeto theclerkofthecourt.

  Thedefendantshallreceivecreditforallpaymentspreviouslym adetoward anycrim inalm onetarypenaltiesim posed.

  Theassessment/fine/restitution ispayableto theCLERK,UNITED STATES COURTS and istobeaddressed to:

              U.S.CLERK'S OFFICE
              ATTN:FINANCG L SECTION
              400NORTH M IAM IAVENUE,ROOM 8N09
              M IAM I,FLOR IDA 33128-7716

  Theassessm ent/fine/restitution ispayableim m ediately.TheU .S.Bureau ofPrisons,U.S.Probation Officeand theU .S.
  A ttorney'sO m ceare responsiblefortheenforcem entoftM sorder.



  Paymentsshallbeappliedinthefollowingorder:(1)mssessment,(2)restitutionplincipal,(3)restitutioninterest,(4)fmeprincipal,
  (5)tineinterest.(6)communityrestitution,t7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.
